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           16
                                   UNITED STATES DISTRICT COURT
           17
                         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
           19      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           20      CERCACOR LABORATORIES, INC.,                  APPLE’S CORRECTED THIRD
                   a Delaware corporation,                       AMENDED WITNESS LIST
           21
                                      Plaintiffs,
                                                                 Trial: April 4, 2023
           22
                         v.
           23
                   APPLE INC.,
           24      a California corporation,
           25                         Defendant.
           26
           27
           28
                                                            APPLE’S CORRECTED THIRD AMENDED WITNESS LIST
Wilmer Cutler
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
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                                                            APPLE’S CORRECTED THIRD AMENDED WITNESS LIST
Wilmer Cutler
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1              Pursuant to FRCP 26(a)(3)(A), Local Rule 16-5, and Dkt. 627, Apple sets forth
             2     below its anticipated witness list. Apple includes in this witness list individuals who
             3     may be listed on Plaintiffs’ witness list without waiving any right to object to
             4     Plaintiffs’ presentation of such witnesses at trial, without waiving any objections to the
             5     admissibility of such testimony, and without waiving the right to move for the
             6     exclusion of any testimony. Apple reserves the right to modify, supplement, or amend
             7     its witness list in response to Plaintiffs’ witness list, or any other circumstances that
             8     may occur between now and the conclusion of trial, to the extent permitted by the
             9     Federal Rules of Civil Procedure, the Local Rules, or other Order of this Court. Apple
           10      further reserves the right to call live or by deposition as its witness at trial any witness
           11      identified on Plaintiffs’ witness list.
           12               At this time, Apple identifies the following witnesses for trial.
           13      I.       WILL / MAY CALL LIVE1
           14                 1. Ueyn Block
           15                 2. Deidre Caldbeck
           16                 3. Timothy Cook*
           17                 4. Steven Hotelling
           18                 5. Ran Kivetz
           19                 6. Brian Land*
           20                 7. Paul Mannheimer*
           21                 8. Divya Nag*
           22                 9. Trevor Ness*
           23                 10. Michael O’Reilly
           24                 11. Adrian Perica
           25
           26
                   1
           27          Per L.R. 16-5, Apple has placed an asterisk (*) next to the names of those witnesses
                        whom Apple may call only if the need arises.
           28
                                                               APPLE’S CORRECTED THIRD AMENDED WITNESS LIST
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             1             12. Marco Perez
             2             13. Peter Russell-Clarke*
             3             14. Majid Sarrafzadeh
             4             15. Denby Sellers*
             5             16. Steven Warren
             6             17. Stephen Waydo
             7             18. Shirley Webster
             8             19. Jeffrey Williams*
             9             20. Dong Zheng*
           10              21. David Dalke*
           11              22. Mohamed Diab*
           12              23. Gerry Hammarth*
           13              24. Joseph Kiani*
           14              25. Tracy Miller*
           15              26. Bilal Muhsin*
           16              27. Gregory Olsen*
           17              28. Jeroen Poeze*
           18              29. Steven Scruggs*
           19
                   II.   MAY CALL BY DEPOSITION
           20
                           1. Yassir Abdul-Hafiz
           21
                           2. Ammar Al-Ali
           22
                           3. David Dalke
           23
                           4. Mohamed Diab
           24
                           5. Gerry Hammarth
           25
                           6. Alex Kanaris
           26
                           7. Joseph Kiani
           27
           28
                                                       APPLE’S CORRECTED THIRD AMENDED WITNESS LIST
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             1              8. Marcelo Lamego
             2              9. Tracy Miller
             3              10. Bilal Muhsin
             4              11. Gregory Olsen
             5              12. Jeroen Poeze
             6              13. Anand Sampath
             7              14. Steven Scruggs
             8              15. Robert Smith
             9              16. Phil Weber
           10               17. Walter Weber
           11               18. Jill Wroblewski
           12               19. Micah Young
           13
                         In their First Amended Witness List, dated February 22, 2023, Plaintiffs
           14
                   indicated that they “will” call live David Dalke, Mohamed Diab, Gerry Hammarth,
           15
                   Joseph Kiani, Tracy Miller, Bilal Muhsin, Jeroen Poeze, and Stephen Scruggs. In
           16
                   reliance on Plaintiffs’ First Amended Witness List, Apple has not served deposition
           17
                   designations of these witnesses. To the extent Plaintiffs amend their witness list to
           18
                   withdraw any of these witnesses from their “will” call live list, Apple reserves the right
           19
                   to then serve designations and call those witnesses by deposition.
           20
                         As set forth in the parties’ Joint Pretrial Order, Plaintiffs have agreed Apple may
           21
                   call Yassir Abdul-Hafiz, Ammar Al-Ali, Alex Kanaris, Gregory Olsen, Anand
           22
                   Sampath, Stephen Scruggs, Robert Smith, Phil Weber, Walter Weber, and Micah
           23
                   Young via deposition regardless of whether they are within the Court’s subpoena
           24
                   power or otherwise unavailable under Federal Rule of Civil Procedure 32.
           25
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                                                             APPLE’S CORRECTED THIRD AMENDED WITNESS LIST
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             1     Dated: March 20, 2023             Respectfully submitted,
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             3
             4                                       /s/ Mark D. Selwyn
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                                                       APPLE’S CORRECTED THIRD AMENDED WITNESS LIST
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Pickering Hale
and Dorr LLP
